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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 STATE OF NEW YORK et al.,

        Plaintiffs,

 v.                                                         Civil Action No. 18-cv-1747 (JDB)

 UNITED STATES DEPARTMENT OF
 LABOR et al.,

        Defendants.



                                    NOTICE OF APPEAL


       Notice is hereby given that all Defendants in the above-captioned matter appeal to the United

States Court of Appeals for the District of Columbia Circuit from this Court’s March 28, 2019 Order

and Memorandum Opinion (ECF Nos. 78, 79).



Dated: April 26, 2019                      Respectfully Submitted,

                                           JOSEPH H. HUNT
                                           Assistant Attorney General
                                           Civil Division

                                           JAMES M. BURNHAM
                                           Deputy Assistant Attorney General

                                           JENNIFER D. RICKETTS
                                           Branch Director

                                           BRAD P. ROSENBERG
                                           CHRISTOPHER HALL
                                           Assistant Branch Directors
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                           /s/ Ashley A. Cheung
                          ASHLEY A. CHEUNG
                          TAMRA T. MOORE
                          MICHAEL KNAPP
                          Trial Attorneys
                          United States Department of Justice
                          Civil Division, Federal Programs Branch
                          Tel: (202) 616-8267
                          Email: ashley.cheung@usdoj.gov

                          Counsel for Defendants




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